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                UNITED STATES BANKRUPTCY COURT
                                Western District of Kentucky
      IN RE:                                                            Case No.:17−40254−thf
      Conda Louise Hubbard

                                  Debtor(s)                             Chapter: 7




               NOTICE OF LAST DAY TO FILE CLAIMS
      TO THE DEBTOR(S), ITS CREDITORS AND ALL PARTIES IN INTEREST:

      IT IS ORDERED and Notice is hereby given that:

      Pursuant to notification by the trustee, debtor's schedules indicate that assets exist in this
      case from which unsecured creditors may receive a dividend.

      In order to preserve your right to receive a distribution from the above named debtor's
      estate, you must file a claim within 90 days of the date of this notice at the following
      address: U.S. Bankruptcy Court, 450 U.S. Courthouse, 601 W. Broadway, Louisville,
      Ky. 40202. A Proof of Claim form "Official Form B 10" can be obtained at the United
      States Courts Web site
      http://www.uscourts.gov/FormsAndFees/Forms/BankruptcyForms.aspx or at any
      bankruptcy clerk's office.

      Any claim not filed within 90 days will be barred from receiving any distribution of
      assets. Filing a claim with the trustee only is insufficient.

      If a claim has been previously filed, it is a part of the permanent court record. There is
      no reason to refile a claim unless you find it necessary to amend as to status or amount.

      Federal Bankruptcy Rule 9037 requires that personal identifiers (i.e. Social Security
      numbers, names of minor children, birthdates, financial account numbers, etc.) be
      redacted from pleadings and attachments filed with the Court. Responsibility for
      redacting this information rests solely with the filer.



      Dated: 5/5/17
                                                              FOR THE COURT
      By: dh                                                  Elizabeth H. Parks
      Deputy Clerk                                            Clerk, U.S. Bankruptcy Court
